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AO 245B       (Rev, 09/11) Judgment in a Criminal Case
vi            Sheet I



                                           UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF ALABAMA

              UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                                   V.                                               (WO)


                   BRANDON TYRONE LEE                                           Case Number: 2:12cr194-MEF-03
                                                                         )      USM Number: 14195-002

                                                                         )       Everett McRae Urech
                                                                                Defendant's Attorney
THE DEFENDANT:
   pleaded guilty to count(s)           One of the Indictment on 12/19/12
E pleaded nolo contendere to count(s)
  which was accepted by the court.
E was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                       Offense Ended              Count

 18513(a)                           Forgery of Private Entity Securities                                   7/26/2012                  1




   See additional count(s) on page 2


      The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
E The defendant has been found not guilty on count(s)
   Count(s) 2 - 7 of the Indictment                        E is   Ftaxe dismissed on the motion of the United States.

         It is ordered that the defendant mist notify the United States attorney for this district within 30 days olany change olname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. lfordcrcd to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                        5/7/2013
                                                                         Date of Imposition of Judgment




                                                                         Signature of

                                                                        Mark E. Fuller, United States District Judge
                                                                         Name of Judge                              Title of Judge



                                                                         Date
                                                                                         I4eit to
                     Case 2:12-cr-00194-WHA-TFM Document 90 Filed 05/14/13 Page 2 of 6

AO 245B         (Rev. 09/I1) Judgment in a Criminal Case
V1              Sheet 2— Imprisonment

                                                                                                                        Judgment Page: 2 of 6
     DEFENDANT: BRANDON TYRONE LEE
     CASE NUMBER: 2:1 2crl 94-MEF-03


                                                                     IMPRISONMENT
              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:
     Thirty Two (32) Months.




             The court makes the following recommendations to the Bureau of Prisons:

     Defendant be placed in a facility in which 1) he can receive mental health counseling, anger management and any emotional
     or mental health programs available within the BOP, 2) where he can receive the benefits of vocational and educational
     programs within BOP and 3) as near Ocala, FL as possible.

             The defendant is remanded to the custody of the United States Marshal.

         El The defendant shall surrender to the United States Marshal for this district:

             LI at                                         LI a.m.     LI p.m.      on

             LI as notified by the United States Marshal.


         LI The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

             LI before                  on

             LI as notified by the United States Marshal.

             LI as notified by the Probation or Pretrial Services Office.



                                                                          RETURN
     I have executed this judgment as follows:




             Defendant delivered on                                                              to

     a                                                        with a certified copy of this judgment.



                                                                                                           UNITED STATES MARSHAL


                                                                                  By
                                                                                                        DEPUTY UNITED STATES MARSHAL
                      Case 2:12-cr-00194-WHA-TFM Document 90 Filed 05/14/13 Page 3 of 6

AU 245B           (Rev. 09/11) Judgment in a Criminal Case
vi                Sheet 3 - Supervised Release

 DEFENDANT: BRANDON TYRONE LEE                                                                                              Judgment Page: 3 of 6
 CASE NUMBER: 2:1 2cr I 94-MEF-03
                                                             SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 3 Years.


          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
              The defendant shall not commit another federal, state or local crime.
          The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
           future substance abuse. (Check, i/applicable.)

           The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable)
           The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, i/applicable.)

 E The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, el seq.)
     as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
     works, is a student, or was convicted of a qualifying offense. (Check, if applicable)

 E The defendant shall participate in an approved program for domestic violence. (Check, /applicable)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that ha'e been adopted by this court as well as with any additional conditions
 on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
      1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)    the defendant shall support his or her dependents and meet other family responsibilities;
      5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
      6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;
     10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
     11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcenent officer;
     12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
            permission of the court; and

     13)    as directed by the probation officer, the defendant shall noti' third parties of risks that may be occasioned by the defendant's criminal
            record or ersonaI history or characteristics and shall permit the probation officer to make such notifications and to confirmthe
            defendant s compliance with such notification requirement.
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AO 245B        (Rev. 09/11) Judgment in a Criminal Case
V1             Sheet 3C - Supervised Release

                                                                                                          Judgment Page: 4 of 6
 DEFENDANT: BRANDON TYRONE LEE
 CASE NUMBER: 2:12er194-MEF-03


                                             SPECIAL CONDITIONS OF SUPERVISION
     1) The defendant shall participate in a program approved by the United States Probation Office for substance abuse,
     which may include testing to determine whether the defendant has reverted to the use of illegal drugs. The defendant shall
     contribute to the cost of any treatment based on ability to pay and the availability of third-party payments.

     2) The defendant shall participate in a mental health counseling and/or treatment program approved by the United States
     Probation Office and shall contribute to the cost based on ability to pay and the availability of third-party payments.

     3) The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy of this
     court.
                     Case 2:12-cr-00194-WHA-TFM Document 90 Filed 05/14/13 Page 5 of 6

AO 245B          (Rev. 09/11) Judgment in a Criminal Case
vI               Sheet 5 - Criminal Monetary Penalties

                                                                                                                        Judgment Page: 5 of 6
     DEFENDANT: BRANDON TYRONE LEE
     CASE NUMBER: 2:12cr194-MEF-03
                                                    CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                          Assessment                                        Fine                              Restitution
 TOTALS                $ 100.00                                           $ 0.00                            $ $0.00


     E The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be entered
         after such determination.

 L The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 U.S.C.. § 3664(1), all nonfederal victims must be paid
         before the United States is paid.

 Name of Payee                                                          Total Loss*              Restitution Ordered Priority or Percentage




 TOTALS                                                                                  im                     $0.00


 E Restitution amount ordered pursuant to plea agreement $

 El The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 EJ      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

              the interest requirement is waived for the           L fine 0 restitution.

         F the interest requirement for the              fl fine    E restitution is modified as follows:



 * Findings for the total amount of losses are required under Charters 109A, 110, ii OA, and 113A of Title 48 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                  Case 2:12-cr-00194-WHA-TFM Document 90 Filed 05/14/13 Page 6 of 6

AO 245F3      (Rev. 09/I1) Judgment in a Criminal Case
V1            Sheet 6—Schedule of Payments

                               Judgment Page: 6 of 6
 DEFENDANT: BRANDON TYRONE LEE
 CASE NUMBER: 2:12cr194-MEF-03


                                                         SCHEDULE OF PAYMENTS
 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A         ' Lump sum payment of$ 100.00                        due immediately, balance due

                  not later than                                    ,or
                  in accordance El C, 0 D,                            E, or ElF below; or

 B          Payment to begin immediately (may be combined with              LI C,         J D, or        F below); or

 C          Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                         (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D          Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                          (e.g., months oryeors), to commence         --      -- - (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E          Payment during the term of supervised release will commence within -(e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101.




 Unless the court has expressly ordered otherwise, if thisjudgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 LI Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 LI The defendant shall pay the cost of prosecution.

 LI The defendant shall pay the following court cost(s):

 LI The defendant shall forfeit the defendant's interest in the following property to the United States:
       one Hewlett Packard, model G60 laptop computer, bearing serial number 2CE931 1 F20; and
       one Canon lnkjet, model MC5320, printer, bearing serial number CCAB10LP0880T7

 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
